        Case 1:19-cv-00660-RB-LF Document 44 Filed 01/30/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

WILLIAM SPILLMAN and
KATRINA GARCIA SPILLMAN,

               Plaintiffs,

v.                                                                 No. CIV 19-0660 RB/LF

METROPOLITAN LIFE INSURANCE
COMPANY and VERIZON WIRELESS,

               Defendants.

                                            ORDER

       THIS MATTER comes before the Court on the Motion of Verizon Wireless to Dismiss

Pursuant to Rule 12(b)(6). (Doc. 11.) Because the parties have reached a settlement of this matter

and United States Magistrate Judge Laura Fashing has ordered the parties to submit closing

documents no later than February 18, 2020, the Court finds Verizon Wireless’s Motion to Dismiss

should be DENIED AS MOOT.

       IT IS SO ORDERED.




                                             ________________________________
                                             ROBERT C. BRACK
                                             SENIOR U.S. DISTRICT JUDGE
